          Case: 1:20-cv-00099-SNLJ                                 Doc. #: 79-4 Filed: 11/22/24                                            Page: 1 of 45 PageID
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                                                                                               Corresponding author(s): Guizhen wu
                                                                                               Last updated by author(s): Mar 29, 2023




Reporting Summary
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Statistics
For all statistical analyses, confirm that the following items are present in the figure legend, table legend, main text, or Methods section.
n/a Confirmed
         The exact sample size (n) for each experimental group/condition, given as a discrete number and unit of measurement
         A statement on whether measurements were taken from distinct samples or whether the same sample was measured repeatedly
         The statistical test(s) used AND whether they are one- or two-sided
         Only common tests should be described solely by name; describe more complex techniques in the Methods section.

         A description of all covariates tested
         A description of any assumptions or corrections, such as tests of normality and adjustment for multiple comparisons
         A full description of the statistical parameters including central tendency (e.g. means) or other basic estimates (e.g. regression coefficient)
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         For null hypothesis testing, the test statistic (e.g. F, t, r) with confidence intervals, effect sizes, degrees of freedom and P value noted
         Give P values as exact values whenever suitable.

         For Bayesian analysis, information on the choice of priors and Markov chain Monte Carlo settings
         For hierarchical and complex designs, identification of the appropriate level for tests and full reporting of outcomes
         Estimates of effect sizes (e.g. Cohen's d, Pearson's r), indicating how they were calculated
                                          Our web collection on statistics for biologists contains articles on many of the points above.



Software and code
Policy information about availability of computer code
  Data collection    For RNA-seq, raw datasets were collected with the BGI's Sequencing Systems.

  Data analysis      Virus genome assembly and phylogenetic analysis
                     Raw reads were adaptor- and quality- trimmed with the Fastp (version 0.20.0) program. The clean reads were mapped to the SARS-CoV-2
                     reference genome (GenBank: NC_045512) using Bowtie2. The assembled genomes were merged and checked using Geneious (version 11.1.5)
                     (https://www.geneious.com). The coverage and depth of genomes were calculated with SAMtools v1.10 based on SAM files from Bowtie2.
                     Reference genomes, IVDC-HB-01 (GISAID: EPI_ISL_402119) and Wuhan-Hu-1 (GenBank: NC_045512), were employed as a query. Multiple
                     sequence alignment of the seven SARS-CoV-2 sequences obtained from this study and reference sequences were performed with Mafft
                     v7.450. Phylogenetic analyses were performed using RAxML v8.2.9 with 1000 bootstrap replicates, employing the GTR nucleotide substitution
                     model and the Gamma distribution.
                     Bioinformatic analysis of the species abundances
                     The Kraken2 (version 2.1.2) was used for species classification with the option '--confidence 0.1'. Sequences of all species in the Nucleotide
                                                                                                                                                                      March 2021




                     (nt) database were used for generating the index. The bracken (version 2.5) was used for re-evaluating species abundance. The matrix of
                     species was obtained by using the pavian algorithm. ggplot2 package in R was used for plotting. Read counts of each genus were used for
                     further analysis and plotting. Raw counts of four domains (Archaea, Viruses, Eukaryota, and Bacteria), SARS-CoV-2, Homo genus, and
                     Mammalia class were shown by heatmap. Two tail unpaired t-test was used for identification of differential genus between SARS-CoV-2
                     PCRpositive
                     and -negative samples.
                     For the analysis of the mammalian genus characterization, the reference was generated using the sequence of mitochondrial cytochrome c
                     oxidase subunit I (COI-5P) in the barcode of life data (BOLD) system. RNA-seq samples were mapped to the reference sequences by the
                     bowtie2 algorithm with the default settings. Read counts of each genus were calculated by the samtools. Read counts over 20 were used as


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             Case: 1:20-cv-00099-SNLJ                                   Doc. #: 79-4 Filed: 11/22/24                                        Page: 2 of 45 PageID
                                                                                #: 3873
                         cut-off for the identification of positively enriched genus. Fisher's exact test was used for comparing the differential genus in the Mammalia
                         class between SARS-CoV-2 PCR-positive and -negative samples.




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For manuscripts utilizing custom algorithms or software that are central to the research but not yet described in published literature, software must be made available to editors and
reviewers. We strongly encourage code deposition in a community repository (e.g. GitHub). See the Nature Portfolio guidelines for submitting code & software for further information.



Data
Policy information about availability of data
 All manuscripts must include a data availability statement. This statement should provide the following information, where applicable:
    - Accession codes, unique identifiers, or web links for publicly available datasets
    - A description of any restrictions on data availability
    - For clinical datasets or third party data, please ensure that the statement adheres to our policy


All the raw sequencing data have been uploaded onto the GISAID (China CDC Weekly, 2021, DOI: 10.46234/ccdcw2021.255). The list of accession codes in Extended
Data Table 6 and 7. The raw sequence data reported in this paper have also been deposited in the Genome Sequence Archive (Genomics, Proteomics &
Bioinformatics, 2021, DOI: 10.1016/j.gpb.2021.08.001) in National Genomics Data Center (Nucleic Acids Res, 2022, DOI: 10.1093/nar/gkab951), China National
Center for Bioinformation / Beijing Institute of Genomics, Chinese Academy of Sciences (GSA: CRA010170) that are publicly accessible at https://ngdc.cncb.ac.cn/
gsa. Raw sequence data was deposited into NCBI BioProject under accession number PRJNA948658 (http://www.ncbi.nlm.nih.gov/bioproject/948658) and in China
National Microbiology Data Center (NMDC) with accession numbers NMDC10018366 (https://nmdc.cn/resource/genomics/sample/detail/NMDC10018366).



Human research participants
Policy information about studies involving human research participants and Sex and Gender in Research.

  Reporting on sex and gender               n/a

  Population characteristics                n/a

  Recruitment                               n/a

  Ethics oversight                          n/a

Note that full information on the approval of the study protocol must also be provided in the manuscript.




Field-specific reporting
Please select the one below that is the best fit for your research. If you are not sure, read the appropriate sections before making your selection.

    Life sciences                        Behavioural & social sciences                  Ecological, evolutionary & environmental sciences
For a reference copy of the document with all sections, see nature.com/documents/nr-reporting-summary-flat.pdf




Ecological, evolutionary & environmental sciences study design
All studies must disclose on these points even when the disclosure is negative.

  Study description                We presented the SARS-CoV-2 detection results of 1380 samples collected from the environment and the animals within the market
                                   in early 2020. We further conducted RNA-seq analysis.

  Research sample                  Environmental samples in the Huanan Seafood Market were collected to represent exhaustively as possible, from a wide diversity of
                                   surfaces, animals and products.

  Sampling strategy                Please refer to the sample collection in the method section.

  Data collection                  Please refer to the sample collection in the method section.

  Timing and spatial scale Please refer to the sample collection in the method section and Table 1, Table 2 and Supplementary Table 1.
                                                                                                                                                                                         March 2021




  Data exclusions                  For the RNA-Seq analysis. 7 SARS-CoV-2 positive environmental samples CZ35R1$3were used for RNA-seq library construction.
                                   Among these,  samples successfully passed the library quality control and were used for analysis. A total of 850 SARS-CoV-2
                                   negative environmental samples were obtained. Among these, 11 samples with high RNA abundance were used for RNA-seq
                                   analysis. Finally, 172 samples were used for analysis, and no samples were excluded.

  Reproducibility                  All samples used in the current study were unique, thus it would not be able to repeat the experiments.




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             Case: 1:20-cv-00099-SNLJ                              Doc. #: 79-4 Filed: 11/22/24                                Page: 3 of 45 PageID
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  Randomization                   Not related.




                                                                                                                                                                            nature portfolio | reporting summary
  Blinding                        Not related.


  Did the study involve field work?              Yes          No




Field work, collection and transport
  Field conditions                Please refer to the sample collection in the method section, Extended Data Table S1 to Table S5, and also Supplementary Table 1.


  Location                        Please refer to the sample collection in the method section, Extended Data Table S1 to Table S5, and also Supplementary Table 1.

  Access & import/export The sample collection was guided and conducted by China CDC.

  Disturbance                     Huanan Seafood Market was a large market with more than 600 stalls inside. Thus, it was a tough job to finish the sampling of all the
                                  stalls in a short time during the emergency response to COVID-19. Thus, we performed the sample collection according to the ten
                                  different sampling principles we summarized in the methods. Especially, early case-related stores and wildlife-related stores were
                                  prioritized for sample collection and repeated sampling were also performed in these locations. Thus, it should be noted that these
                                  factors may lead to a biased sampling in the market.




Reporting for specific materials, systems and methods
We require information from authors about some types of materials, experimental systems and methods used in many studies. Here, indicate whether each material,
system or method listed is relevant to your study. If you are not sure if a list item applies to your research, read the appropriate section before selecting a response.


Materials & experimental systems                               Methods
n/a Involved in the study                                     n/a Involved in the study
          Antibodies                                                     ChIP-seq
          Eukaryotic cell lines                                          Flow cytometry
          Palaeontology and archaeology                                  MRI-based neuroimaging
          Animals and other organisms
          Clinical data
          Dual use research of concern



Eukaryotic cell lines
Policy information about cell lines and Sex and Gender in Research
  Cell line source(s)                    ATCC.

  Authentication                         None of the cell lines used were authenticated.

  Mycoplasma contamination               Tested negative.

  Commonly misidentified lines           None.
  (See ICLAC register)
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Case: 1:20-cv-00099-SNLJ   Doc. #: 79-4 Filed: 11/22/24   Page: 4 of 45 PageID
                                   #: 3875




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         The origin of COVID: Did people or
           nature open Pandora’s box at
                       Wuhan?
                                                     By Nicholas Wade | May 5, 2021




     Members of the World Health Organization (WHO) team investigating the origins of the COVID-19 coronavirus arrive
     by car at the Wuhan Institute of Virology on February 3. (Photo by HECTOR RETAMAL/AFP via Getty Images)




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     The COVID-19 pandemic has disrupted lives the world over for more than a year. Its
     death toll will soon reach three million people. Yet the origin of pandemic remains
     uncertain: The political agendas of governments and scientists have generated thick
     clouds of obfuscation, which the mainstream press seems helpless to dispel.

     In what follows I will sort through the available scienti¬c facts, which hold many clues
     as to what happened, and provide readers with the evidence to make their own
     judgments. I will then try to assess the complex issue of blame, which starts with, but
     extends far beyond, the government of China.

     By the end of this article, you may have learned a lot about the molecular biology of
     viruses. I will try to keep this process as painless as possible. But the science cannot be
     avoided because for now, and probably for a long time hence, it offers the only sure
     thread through the maze.

     The virus that caused the pandemic is known o®cially as SARS-CoV-2, but can be called
     SARS2 for short. As many people know, there are two main theories about its origin.
     One is that it jumped naturally from wildlife to people. The other is that the virus was
     under study in a lab, from which it escaped. It matters a great deal which is the case if
     we hope to prevent a second such occurrence.

     I’ll describe the two theories, explain why each is plausible, and then ask which provides
     the better explanation of the available facts. It’s important to note that so far there is no
     direct evidence for either theory. Each depends on a set of reasonable conjectures but
     so far lacks proof. So I have only clues, not conclusions, to offer. But those clues point
     in a speci¬c direction. And having inferred that direction, I’m going to delineate some of
     the strands in this tangled skein of disaster.

     A tale of two theories. After the pandemic ¬rst broke out in December 2019, Chinese
     authorities reported that many cases had occurred in the wet market — a place selling
     wild animals for meat — in Wuhan. This reminded experts of the SARS1 epidemic of
     2002, in which a bat virus had spread ¬rst to civets, an animal sold in wet markets, and
     from civets to people. A similar bat virus caused a second epidemic, known as MERS, in
     2012. This time the intermediary host animal was camels.



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     The decoding of the virus’s genome showed it belonged a viral family known as beta-
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     coronaviruses,   to which the SARS1 and MERS viruses also belong. The relationship
     supported the idea that, like them, it was a natural virus that had managed to jump from
     bats, via another animal host, to people. The wet market connection, the major point of
     similarity with the SARS1 and MERS epidemics, was soon broken: Chinese researchers
     found earlier cases in Wuhan with no link to the wet market. But that seemed not to
     matter when so much further evidence in support of natural emergence was expected
     shortly.

     Wuhan, however, is home of the Wuhan Institute of Virology, a leading world center for
     research on coronaviruses. So the possibility that the SARS2 virus had escaped from
     the lab could not be ruled out. Two reasonable scenarios of origin were on the table.

     From early on, public and media perceptions were shaped in favor of the natural
     emergence scenario by strong statements from two scienti¬c groups. These
     statements were not at ¬rst examined as critically as they should have been.

     “We stand together to strongly condemn conspiracy theories suggesting that COVID-19
     does not have a natural origin,” a group of virologists and others wrote in the Lancet on
     February 19, 2020, when it was really far too soon for anyone to be sure what had
     happened. Scientists “overwhelmingly conclude that this coronavirus originated in
     wildlife,” they said, with a stirring rallying call for readers to stand with Chinese
     colleagues on the frontline of ¬ghting the disease.

     Contrary to the letter writers’ assertion, the idea that the virus might have escaped from
     a lab invoked accident, not conspiracy. It surely needed to be explored, not rejected out
     of hand. A de¬ning mark of good scientists is that they go to great pains to distinguish
     between what they know and what they don’t know. By this criterion, the signatories of
     the Lancet letter were behaving as poor scientists: They were assuring the public of
     facts they could not know for sure were true.

     It later turned out that the Lancet letter had been organized and drafted by Peter
     Daszak, president of the EcoHealth Alliance of New York. Daszak’s organization funded
     coronavirus research at the Wuhan Institute of Virology. If the SARS2 virus had indeed
     escaped from research he funded, Daszak would be potentially culpable. This acute
     con­ict of interest was not declared to the Lancet’s readers. To the contrary, the letter
     concluded, “We declare no competing interests.”


https://thebulletin.org/2021/05/the-origin-of-covid-did-people-or-nature-open-pandoras-box-at-wuhan/                                      3/69
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     Virologists like Daszak had much at
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     stake in  the assigning of blame for the
     pandemic. For 20 years, mostly beneath
     the public’s attention, they had been
     playing a dangerous game. In their
     laboratories they routinely created
     viruses more dangerous than those that
     exist in nature. They argued that they
     could do so safely, and that by getting
     ahead of nature they could predict and
     prevent natural “spillovers,” the cross-
     over of viruses from an animal host to
     people. If SARS2 had indeed escaped
     from such a laboratory experiment, a
     savage blowback could be expected, and
     the storm of public indignation would
     affect virologists everywhere, not just in
     China. “It would shatter the scienti¬c
     edi¬ce top to bottom,” an MIT
     Technology Review editor, Antonio
     Regalado, said in March 2020.
                                                                             Peter Daszak, a member of the World Health Organization
     A second statement that had enormous                                    (WHO) team investigating the origins of the COVID-19
                                                                             coronavirus, talks on his cellphone at the Hilton Wuhan
     in­uence in shaping public attitudes was                                Optics Valley in Wuhan. (Photo by HECTOR RETAMAL/AFP
                                                                             via Getty Images)
     a letter (in other words an opinion piece,
     not a scienti¬c article) published on 17
     March 2020 in the journal Nature Medicine. Its authors were a group of virologists led
     by Kristian G. Andersen of the Scripps Research Institute. “Our analyses clearly show
     that SARS-CoV-2 is not a laboratory construct or a purposefully manipulated virus,” the
     ¬ve virologists declared in the second paragraph of their letter.

     Unfortunately, this was another case of poor science, in the sense de¬ned above. True,
     some older methods of cutting and pasting viral genomes retain tell-tale signs of
     manipulation. But newer methods, called “no-see-um” or “seamless” approaches, leave
     no de¬ning marks. Nor do other methods for manipulating viruses such as serial
     passage, the repeated transfer of viruses from one culture of cells to another. If a virus
     has been manipulated, whether with a seamless method or by serial passage, there is
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                                                                         #: 3880
     no way of knowing that this is the case. Andersen and his colleagues were assuring
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     their readers   of something they could not know.

     The discussion part of their letter begins, “It is improbable that SARS-CoV-2 emerged
     through laboratory manipulation of a related SARS-CoV-like coronavirus.” But wait, didn’t
     the lead say the virus had clearly not been manipulated? The authors’ degree of
     certainty seemed to slip several notches when it came to laying out their reasoning.

     The reason for the slippage is clear once the technical language has been penetrated.
     The two reasons the authors give for supposing manipulation to be improbable are
     decidedly inconclusive.

     First, they say that the spike protein of SARS2 binds very well to its target, the human
     ACE2 receptor, but does so in a different way from that which physical calculations
     suggest would be the best ¬t. Therefore the virus must have arisen by natural selection,
     not manipulation.

     If this argument seems hard to grasp, it’s because it’s so strained. The authors’ basic
     assumption, not spelt out, is that anyone trying to make a bat virus bind to human cells
     could do so in only one way. First they would calculate the strongest possible ¬t
     between the human ACE2 receptor and the spike protein with which the virus latches
     onto it. They would then design the spike protein accordingly (by selecting the right
     string of amino acid units that compose it). Since the SARS2 spike protein is not of this
     calculated best design, the Andersen paper says, therefore it can’t have been
     manipulated.

     But this ignores the way that virologists do in fact get spike proteins to bind to chosen
     targets, which is not by calculation but by splicing in spike protein genes from other
     viruses or by serial passage. With serial passage, each time the virus’s progeny are
     transferred to new cell cultures or animals, the more successful are selected until one
     emerges that makes a really tight bind to human cells. Natural selection has done all the
     heavy lifting. The Andersen paper’s speculation about designing a viral spike protein
     through calculation has no bearing on whether or not the virus was manipulated by one
     of the other two methods.

     The authors’ second argument against manipulation is even more contrived. Although
     most living things use DNA as their hereditary material, a number of viruses use RNA,
     DNA’s close chemical cousin. But RNA is di®cult to manipulate, so researchers working

https://thebulletin.org/2021/05/the-origin-of-covid-did-people-or-nature-open-pandoras-box-at-wuhan/                                      5/69
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     on coronaviruses, which are RNA-based, will ¬rst convert the RNA genome to DNA. They
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     manipulate  the DNA version, whether by adding or altering genes, and then arrange for
     the manipulated DNA genome to be converted back into infectious RNA.

     Only a certain number of these DNA backbones have been described in the scienti¬c
     literature. Anyone manipulating the SARS2 virus “would probably” have used one of
     these known backbones, the Andersen group writes, and since SARS2 is not derived
     from any of them, therefore it was not manipulated. But the argument is conspicuously
     inconclusive. DNA backbones are quite easy to make, so it’s obviously possible that
     SARS2 was manipulated using an unpublished DNA backbone.

     And that’s it. These are the two arguments made by the Andersen group in support of
     their declaration that the SARS2 virus was clearly not manipulated. And this conclusion,
     grounded in nothing but two inconclusive speculations, convinced the world’s press that
     SARS2 could not have escaped from a lab. A technical critique of the Andersen letter
     takes it down in harsher words.

     Science is supposedly a self-correcting community of experts who constantly check
     each other’s work. So why didn’t other virologists point out that the Andersen group’s
     argument was full of absurdly large holes? Perhaps because in today’s universities
     speech can be very costly. Careers can be destroyed for stepping out of line. Any
     virologist who challenges the community’s declared view risks having his next grant
     application turned down by the panel of fellow virologists that advises the government
     grant distribution agency.

     The Daszak and Andersen letters were really political, not scienti¬c, statements, yet
     were amazingly effective. Articles in the mainstream press repeatedly stated that a
     consensus of experts had ruled lab escape out of the question or extremely unlikely.
     Their authors relied for the most part on the Daszak and Andersen letters, failing to
     understand the yawning gaps in their arguments. Mainstream newspapers all have
     science journalists on their staff, as do the major networks, and these specialist
     reporters are supposed to be able to question scientists and check their assertions. But
     the Daszak and Andersen assertions went largely unchallenged.

     Doubts about natural emergence. Natural emergence was the media’s preferred theory
     until around February 2021 and the visit by a World Health Organization (WHO)
     commission to China. The commission’s composition and access were heavily
     controlled by the Chinese authorities. Its members, who included the ubiquitous Daszak,
https://thebulletin.org/2021/05/the-origin-of-covid-did-people-or-nature-open-pandoras-box-at-wuhan/                                 6/69
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                                                                                                                 Atomic Scientists
                                                                         #: 3882
     kept asserting before, during, and after their visit that lab escape was extremely unlikely.
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     But this was not quite the propaganda victory the Chinese authorities may have been
     hoping for. What became clear was that the Chinese had no evidence to offer the
     commission in support of the natural emergence theory.

     This was surprising because both the SARS1 and MERS viruses had left copious traces
     in the environment. The intermediary host species of SARS1 was identi¬ed within four
     months of the epidemic’s outbreak, and the host of MERS within nine months. Yet some
     15 months after the SARS2 pandemic began, and after a presumably intensive search,
     Chinese researchers had failed to ¬nd either the original bat population, or the
     intermediate species to which SARS2 might have jumped, or any serological evidence
     that any Chinese population, including that of Wuhan, had ever been exposed to the
     virus prior to December 2019. Natural emergence remained a conjecture which,
     however plausible to begin with, had gained not a shred of supporting evidence in over a
     year.

     And as long as that remains the case, it’s logical to pay serious attention to the
     alternative conjecture, that SARS2 escaped from a lab.

     Why would anyone want to create a novel virus capable of causing a pandemic? Ever
     since virologists gained the tools for manipulating a virus’s genes, they have argued
     they could get ahead of a potential pandemic by exploring how close a given animal
     virus might be to making the jump to humans. And that justi¬ed lab experiments in
     enhancing the ability of dangerous animal viruses to infect people, virologists asserted.

     With this rationale, they have recreated the 1918 ­u virus, shown how the almost extinct
     polio virus can be synthesized from its published DNA sequence, and introduced a
     smallpox gene into a related virus.

     These enhancements of viral capabilities are known blandly as gain-of-function
     experiments. With coronaviruses, there was particular interest in the spike proteins,
     which jut out all around the spherical surface of the virus and pretty much determine
     which species of animal it will target. In 2000 Dutch researchers, for instance, earned
     the gratitude of rodents everywhere by genetically engineering the spike protein of a
     mouse coronavirus so that it would attack only cats.




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                                                                                                                 Atomic Scientists
                                                                         #: 3883
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     The spike proteins on the coronavirus’s surface determine which animal it can infect. Image credit:
     CDC.gov


     Virologists started studying bat coronaviruses in earnest after these turned out to be
     the source of both the SARS1 and MERS epidemics. In particular, researchers wanted to
     understand what changes needed to occur in a bat virus’s spike proteins before it could
     infect people.

     Researchers at the Wuhan Institute of Virology, led by China’s leading expert on bat
     viruses, Shi Zheng-li or “Bat Lady,” mounted frequent expeditions to the bat-infested
     caves of Yunnan in southern China and collected around a hundred different bat
     coronaviruses.



https://thebulletin.org/2021/05/the-origin-of-covid-did-people-or-nature-open-pandoras-box-at-wuhan/                                 8/69
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     Shi then teamed up with Ralph S. Baric, an eminent coronavirus researcher at the
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     University  of North Carolina. Their work focused on enhancing the ability of bat viruses
     to attack humans so as to “examine the emergence potential (that is, the potential to
     infect humans) of circulating bat CoVs [coronaviruses].” In pursuit of this aim, in
     November 2015 they created a novel virus by taking the backbone of the SARS1 virus
     and replacing its spike protein with one from a bat virus (known as SHC014-CoV). This
     manufactured virus was able to infect the cells of the human airway, at least when
     tested against a lab culture of such cells.

     The SHC014-CoV/SARS1 virus is known as a chimera because its genome contains
     genetic material from two strains of virus. If the SARS2 virus were to have been cooked
     up in Shi’s lab, then its direct prototype would have been the SHC014-CoV/SARS1
     chimera, the potential danger of which concerned many observers and prompted
     intense discussion.

     “If the virus escaped, nobody could predict the trajectory,” said Simon Wain-Hobson, a
     virologist at the Pasteur Institute in Paris.

     Baric and Shi referred to the obvious risks in their paper but argued they should be
     weighed against the bene¬t of foreshadowing future spillovers. Scienti¬c review panels,
     they wrote, “may deem similar studies building chimeric viruses based on circulating
     strains too risky to pursue.” Given various restrictions being placed on gain-of function
     (GOF) research, matters had arrived in their view at “a crossroads of GOF research
     concerns; the potential to prepare for and mitigate future outbreaks must be weighed
     against the risk of creating more dangerous pathogens. In developing policies moving
     forward, it is important to consider the value of the data generated by these studies and
     whether these types of chimeric virus studies warrant further investigation versus the
     inherent risks involved.”

     That statement was made in 2015. From the hindsight of 2021, one can say that the
     value of gain-of-function studies in preventing the SARS2 epidemic was zero. The risk
     was catastrophic, if indeed the SARS2 virus was generated in a gain-of-function
     experiment.

     Inside the Wuhan Institute of Virology. Baric had developed, and taught Shi, a general
     method for engineering bat coronaviruses to attack other species. The speci¬c targets
     were human cells grown in cultures and humanized mice. These laboratory mice, a
     cheap and ethical stand-in for human subjects, are genetically engineered to carry the
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                                                                                                                 Atomic Scientists
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     human version of a protein called ACE2 that studs the surface of cells that line the
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     airways.

     Shi returned to her lab at the Wuhan Institute of Virology and resumed the work she had
     started on genetically engineering coronaviruses to attack human cells. How can we be
     so sure?




     A May 20, 2020, photo of the Wuhan Institute of Virology in Wuhan, where research on bat coronaviruses was
     conducted. (Photo by Kyodo News via Getty Images)


     Because, by a strange twist in the story, her work was funded by the National Institute of
     Allergy and Infectious Diseases (NIAID), a part of the US National Institutes of Health
     (NIH). And grant proposals that funded her work, which are a matter of public record,
     specify exactly what she planned to do with the money.

     The grants were assigned to the prime contractor, Daszak of the EcoHealth Alliance,
     who subcontracted them to Shi. Here are extracts from the grants for ¬scal years 2018
     and 2019. (“CoV” stands for coronavirus and “S protein” refers to the virus’s spike
     protein.)

https://thebulletin.org/2021/05/the-origin-of-covid-did-people-or-nature-open-pandoras-box-at-wuhan/                                 10/69
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     “Test predictions of CoV inter-species transmission. Predictive models of host range
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     (i.e. emergence    potential) will be tested experimentally using reverse genetics,
     pseudovirus and receptor binding assays, and virus infection experiments across a
     range of cell cultures from different species and humanized mice.”

     “We will use S protein sequence data, infectious clone technology, in vitro and in vivo
     infection experiments and analysis of receptor binding to test the hypothesis that %
     divergence thresholds in S protein sequences predict spillover potential.”

     What this means, in non-technical language, is that Shi set out to create novel
     coronaviruses with the highest possible infectivity for human cells. Her plan was to take
     genes that coded for spike proteins possessing a variety of measured a®nities for
     human cells, ranging from high to low. She would insert these spike genes one by one
     into the backbone of a number of viral genomes (“reverse genetics” and “infectious
     clone technology”), creating a series of chimeric viruses. These chimeric viruses would
     then be tested for their ability to attack human cell cultures (“in vitro”) and humanized
     mice (“in vivo”). And this information would help predict the likelihood of “spillover,” the
     jump of a coronavirus from bats to people.

     The methodical approach was designed to ¬nd the best combination of coronavirus
     backbone and spike protein for infecting human cells. The approach could have
     generated SARS2-like viruses, and indeed may have created the SARS2 virus itself with
     the right combination of virus backbone and spike protein.

     It cannot yet be stated that Shi did or did not generate SARS2 in her lab because her
     records have been sealed, but it seems she was certainly on the right track to have done
     so. “It is clear that the Wuhan Institute of Virology was systematically constructing
     novel chimeric coronaviruses and was assessing their ability to infect human cells and
     human-ACE2-expressing mice,” says Richard H. Ebright, a molecular biologist at Rutgers
     University and leading expert on biosafety.

     “It is also clear,” Ebright said, “that, depending on the constant genomic contexts chosen
     for analysis, this work could have produced SARS-CoV-2 or a proximal progenitor of
     SARS-CoV-2.” “Genomic context” refers to the particular viral backbone used as the
     testbed for the spike protein.

     The lab escape scenario for the origin of the SARS2 virus, as should by now be evident,
     is not mere hand-waving in the direction of the Wuhan Institute of Virology. It is a

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     detailed proposal, based on the speci¬c project being funded there by the NIAID.
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     Even if the grant required the work plan described above, how can we be sure that the
     plan was in fact carried out? For that we can rely on the word of Daszak, who has been
     much protesting for the last 15 months that lab escape was a ludicrous conspiracy
     theory invented by China-bashers.

     On December 9, 2019, before the outbreak of the pandemic became generally known,
     Daszak gave an interview in which he talked in glowing terms of how researchers at the
     Wuhan Institute of Virology had been reprogramming the spike protein and generating
     chimeric coronaviruses capable of infecting humanized mice.

     “And we have now found, you know, after 6 or 7 years of doing this, over 100 new SARS-
     related coronaviruses, very close to SARS,” Daszak says around minute 28 of the
     interview. “Some of them get into human cells in the lab, some of them can cause SARS
     disease in humanized mice models and are untreatable with therapeutic monoclonals
     and you can’t vaccinate against them with a vaccine. So, these are a clear and present
     danger….

     “Interviewer: You say these are diverse coronaviruses and you can’t vaccinate against
     them, and no anti-virals — so what do we do?

     “Daszak: Well I think…coronaviruses — you can manipulate them in the lab pretty easily.
     Spike protein drives a lot of what happen with coronavirus, in zoonotic risk. So you can
     get the sequence, you can build the protein, and we work a lot with Ralph Baric at UNC
     to do this. Insert into the backbone of another virus and do some work in the lab. So you
     can get more predictive when you ¬nd a sequence. You’ve got this diversity. Now the
     logical progression for vaccines is, if you are going to develop a vaccine for SARS,
     people are going to use pandemic SARS, but let’s insert some of these other things and
     get a better vaccine.” The insertions he referred to perhaps included an element called
     the furin cleavage site, discussed below, which greatly increases viral infectivity for
     human cells.

     In disjointed style, Daszak is referring to the fact that once you have generated a novel
     coronavirus that can attack human cells, you can take the spike protein and make it the
     basis for a vaccine.




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     One can only imagine Daszak’s reaction when he heard of the outbreak of the epidemic
     in Wuhan a few days later. He would have known better than anyone the Wuhan
     Institute’s goal of making bat coronaviruses infectious to humans, as well as the
     weaknesses in the institute’s defense against their own researchers becoming infected.

     But instead of providing public health authorities with the plentiful information at his
     disposal, he immediately launched a public relations campaign to persuade the world
     that the epidemic couldn’t possibly have been caused by one of the institute’s souped-
     up viruses. “The idea that this virus escaped from a lab is just pure baloney. It’s simply
     not true,” he declared in an April 2020 interview.

     The safety arrangements at the Wuhan Institute of Virology. Daszak was possibly
     unaware of, or perhaps he knew all too well, the long history of viruses escaping from
     even the best run laboratories. The smallpox virus escaped three times from labs in
     England in the 1960’s and 1970’s, causing 80 cases and 3 deaths. Dangerous viruses
     have leaked out of labs almost every year since. Coming to more recent times, the
     SARS1 virus has proved a true escape artist, leaking from laboratories in Singapore,
     Taiwan, and no less than four times from the Chinese National Institute of Virology in
     Beijing.

     One reason for SARS1 being so hard to handle is that there were no vaccines available
     to protect laboratory workers. As Daszak mentioned in the December 19 interview
     quoted above, the Wuhan researchers too had been unable to develop vaccines against
     the coronaviruses they had designed to infect human cells. They would have been as
     defenseless against the SARS2 virus, if it were generated in their lab, as their Beijing
     colleagues were against SARS1.

     A second reason for the severe danger of novel coronaviruses has to do with the
     required levels of lab safety. There are four degrees of safety, designated BSL1 to BSL4,
     with BSL4 being the most restrictive and designed for deadly pathogens like the Ebola
     virus.



https://thebulletin.org/2021/05/the-origin-of-covid-did-people-or-nature-open-pandoras-box-at-wuhan/                                 13/69
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     The Wuhan Institute of Virology had a new BSL4 lab, but its state of readiness
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     considerably   alarmed the State Department inspectors who visited it from the Beijing
     embassy in 2018. “The new lab has a serious shortage of appropriately trained
     technicians and investigators needed to safely operate this high-containment
     laboratory,” the inspectors wrote in a cable of January 19, 2018.

     The real problem, however, was not the unsafe state of the Wuhan BSL4 lab but the fact
     that virologists worldwide don’t like working in BSL4 conditions. You have to wear a
     space suit, do operations in closed cabinets, and accept that everything will take twice
     as long. So the rules assigning each kind of virus to a given safety level were laxer than
     some might think was prudent.

     Before 2020, the rules followed by virologists in China and elsewhere required that
     experiments with the SARS1 and MERS viruses be conducted in BSL3 conditions. But all
     other bat coronaviruses could be studied in BSL2, the next level down. BSL2 requires
     taking fairly minimal safety precautions, such as wearing lab coats and gloves, not
     sucking up liquids in a pipette, and putting up biohazard warning signs. Yet a gain-of-
     function experiment conducted in BSL2 might produce an agent more infectious than
     either SARS1 or MERS. And if it did, then lab workers would stand a high chance of
     infection, especially if unvaccinated.

     Much of Shi’s work on gain-of-function in coronaviruses was performed at the BSL2
     safety level, as is stated in her publications and other documents. She has said in an
     interview with Science magazine that “[t]he coronavirus research in our laboratory is
     conducted in BSL-2 or BSL-3 laboratories.”

     “It is clear that some or all of this work was being performed using a biosafety standard
     — biosafety level 2, the biosafety level of a standard US dentist’s o®ce — that would pose
     an unacceptably high risk of infection of laboratory staff upon contact with a virus
     having the transmission properties of SARS-CoV-2,” Ebright says.

     “It also is clear,” he adds, “that this work never should have been funded and never
     should have been performed.”

     This is a view he holds regardless of whether or not the SARS2 virus ever saw the inside
     of a lab.

     Concern about safety conditions at the Wuhan lab was not, it seems, misplaced.
     According to a fact sheet issued by the State Department on January 15, 2021, “The
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                                                                                                  - Bulletin the 45 PageID
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     U.S. government has reason to believe that several researchers inside the WIV became
     sick inThe authoritative guide to ensuring science and technology make life on Earth better, not worse.
             autumn   2019, before the ¬rst identi¬ed case of the outbreak, with symptoms
     consistent with both COVID-19 and common seasonal illnesses.”

     David Asher, a fellow of the Hudson Institute and former consultant to the State
     Department, provided more detail about the incident at a seminar. Knowledge of the
     incident came from a mix of public information and “some high end information
     collected by our intelligence community,” he said. Three people working at a BSL3 lab at
     the institute fell sick within a week of each other with severe symptoms that required
     hospitalization. This was “the ¬rst known cluster that we’re aware of, of victims of what
     we believe to be COVID-19.” In­uenza could not completely be ruled out but seemed
     unlikely in the circumstances, he said.

     Comparing the rival scenarios of SARS2 origin. The evidence above adds up to a
     serious case that the SARS2 virus could have been created in a lab, from which it then
     escaped. But the case, however substantial, falls short of proof. Proof would consist of
     evidence from the Wuhan Institute of Virology, or related labs in Wuhan, that SARS2 or a
     predecessor virus was under development there. For lack of access to such records,
     another approach is to take certain salient facts about the SARS2 virus and ask how
     well each is explained by the two rival scenarios of origin, those of natural emergence
     and lab escape. Here are four tests of the two hypotheses. A couple have some
     technical detail, but these are among the most persuasive for those who may care to
     follow the argument.

             1) The place of origin. Start with geography. The two closest known relatives of the
             SARS2 virus were collected from bats living in caves in Yunnan, a province of
             southern China. If the SARS2 virus had ¬rst infected people living around the
             Yunnan caves, that would strongly support the idea that the virus had spilled over
             to people naturally. But this isn’t what happened. The pandemic broke out 1,500
             kilometers away, in Wuhan.

             Beta-coronaviruses, the family of bat viruses to which SARS2 belongs, infect the
             horseshoe bat Rhinolophus a®nis, which ranges across southern China. The bats’
             range is 50 kilometers, so it’s unlikely that any made it to Wuhan. In any case, the
             ¬rst cases of the COVID-19 pandemic probably occurred in September, when
             temperatures in Hubei province are already cold enough to send bats into
             hibernation.

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                                                                                                                 Atomic Scientists
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             What if the bat viruses infected some intermediate host ¬rst? You would need a
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             longstanding     population of bats in frequent proximity with an intermediate host,
             which in turn must often cross paths with people. All these exchanges of virus
             must take place somewhere outside Wuhan, a busy metropolis which so far as is
             known is not a natural habitat of Rhinolophus bat colonies. The infected person (or
             animal) carrying this highly transmissible virus must have traveled to Wuhan
             without infecting anyone else. No one in his or her family got sick. If the person
             jumped on a train to Wuhan, no fellow passengers fell ill.

             It’s a stretch, in other words, to get the pandemic to break out naturally outside
             Wuhan and then, without leaving any trace, to make its ¬rst appearance there.

             For the lab escape scenario, a Wuhan origin for the virus is a no-brainer. Wuhan is
             home to China’s leading center of coronavirus research where, as noted above,
             researchers were genetically engineering bat coronaviruses to attack human cells.
             They were doing so under the minimal safety conditions of a BSL2 lab. If a virus
             with the unexpected infectiousness of SARS2 had been generated there, its escape
             would be no surprise.

             2) Natural history and evolution. The initial location of the pandemic is a small part
             of a larger problem, that of its natural history. Viruses don’t just make one time
             jumps from one species to another. The coronavirus spike protein, adapted to
             attack bat cells, needs repeated jumps to another species, most of which fail,
             before it gains a lucky mutation. Mutation — a change in one of its RNA units —
             causes a different amino acid unit to be incorporated into its spike protein and
             makes the spike protein better able to attack the cells of some other species.

             Through several more such mutation-driven adjustments, the virus adapts to its
             new host, say some animal with which bats are in frequent contact. The whole
             process then resumes as the virus moves from this intermediate host to people.

             In the case of SARS1, researchers have documented the successive changes in its
             spike protein as the virus evolved step by step into a dangerous pathogen. After it
             had gotten from bats into civets, there were six further changes in its spike protein
             before it became a mild pathogen in people. After a further 14 changes, the virus
             was much better adapted to humans, and with a further four, the epidemic took off.



https://thebulletin.org/2021/05/the-origin-of-covid-did-people-or-nature-open-pandoras-box-at-wuhan/                                 16/69
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             But when you look for the ¬ngerprints of a similar transition in SARS2, a strange
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             surprise awaits. The virus has changed hardly at all, at least until recently. From its
             very ¬rst appearance, it was well adapted to human cells. Researchers led by Alina
             Chan of the Broad Institute compared SARS2 with late stage SARS1, which by then
             was well adapted to human cells, and found that the two viruses were similarly
             well adapted. “By the time SARS-CoV-2 was ¬rst detected in late 2019, it was
             already pre-adapted to human transmission to an extent similar to late epidemic
             SARS-CoV,” they wrote.

             Even those who think lab origin unlikely agree that SARS2 genomes are remarkably
             uniform. Baric writes that “early strains identi¬ed in Wuhan, China, showed limited
             genetic diversity, which suggests that the virus may have been introduced from a
             single source.”

             A single source would of course be compatible with lab escape, less so with the
             massive variation and selection which is evolution’s hallmark way of doing
             business.

             The uniform structure of SARS2 genomes gives no hint of any passage through an
             intermediate animal host, and no such host has been identi¬ed in nature.

             Proponents of natural emergence suggest that SARS2 incubated in a yet-to-be
             found human population before gaining its special properties. Or that it jumped to
             a host animal outside China.

             All these conjectures are possible, but strained. Proponents of a lab leak have a
             simpler explanation. SARS2 was adapted to human cells from the start because it
             was grown in humanized mice or in lab cultures of human cells, just as described
             in Daszak’s grant proposal. Its genome shows little diversity because the hallmark
             of lab cultures is uniformity.

             Proponents of laboratory escape joke that of course the SARS2 virus infected an
             intermediary host species before spreading to people, and that they have identi¬ed
             it — a humanized mouse from the Wuhan Institute of Virology.

             3) The furin cleavage site. The furin cleavage site is a minute part of the virus’s
             anatomy but one that exerts great in­uence on its infectivity. It sits in the middle of
             the SARS2 spike protein. It also lies at the heart of the puzzle of where the virus
             came from.
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             The spike protein has two sub-units with different roles. The ¬rst, called S1,
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             recognizes    the virus’s target, a protein called angiotensin converting enzyme-2 (or
             ACE2) which studs the surface of cells lining the human airways. The second, S2,
             helps the virus, once anchored to the cell, to fuse with the cell’s membrane. After
             the virus’s outer membrane has coalesced with that of the stricken cell, the viral
             genome is injected into the cell, hijacks its protein-making machinery and forces it
             to generate new viruses.

             But this invasion cannot begin until the S1 and S2 subunits have been cut apart.
             And there, right at the S1/S2 junction, is the furin cleavage site that ensures the
             spike protein will be cleaved in exactly the right place.

             The virus, a model of economic design, does not carry its own cleaver. It relies on
             the cell to do the cleaving for it. Human cells have a protein cutting tool on their
             surface known as furin. Furin will cut any protein chain that carries its signature
             target cutting site. This is the sequence of amino acid units proline-arginine-
             arginine-alanine, or PRRA in the code that refers to each amino acid by a letter of
             the alphabet. PRRA is the amino acid sequence at the core of SARS2’s furin
             cleavage site.

             Viruses have all kinds of clever tricks, so why does the furin cleavage site stand
             out? Because of all known SARS-related beta-coronaviruses, only SARS2
             possesses a furin cleavage site. All the other viruses have their S2 unit cleaved at a
             different site and by a different mechanism.

             How then did SARS2 acquire its furin cleavage site? Either the site evolved
             naturally, or it was inserted by researchers at the S1/S2 junction in a gain-of-
             function experiment.

             Consider natural origin ¬rst. Two ways viruses evolve are by mutation and by
             recombination. Mutation is the process of random change in DNA (or RNA for
             coronaviruses) that usually results in one amino acid in a protein chain being
             switched for another. Many of these changes harm the virus but natural selection
             retains the few that do something useful. Mutation is the process by which the
             SARS1 spike protein gradually switched its preferred target cells from those of
             bats to civets, and then to humans.



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                                                                                    box at Wuhan?        23ofof
                                                                                                  - Bulletin the 45 PageID
                                                                                                                 Atomic Scientists
                                                                         #: 3894
             Mutation seems a less likely way for SARS2’s furin cleavage site to be generated,
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             even   though it can’t completely be ruled out. The site’s four amino acid units are all
             together, and all at just the right place in the S1/S2 junction. Mutation is a random
             process triggered by copying errors (when new viral genomes are being generated)
             or by chemical decay of genomic units. So it typically affects single amino acids at
             different spots in a protein chain. A string of amino acids like that of the furin
             cleavage site is much more likely to be acquired all together through a quite
             different process known as recombination.

             Recombination is an inadvertent swapping of genomic material that occurs when
             two viruses happen to invade the same cell, and their progeny are assembled with
             bits and pieces of RNA belonging to the other. Beta-coronaviruses will only
             combine with other beta-coronaviruses but can acquire, by recombination, almost
             any genetic element present in the collective genomic pool. What they cannot
             acquire is an element the pool does not possess. And no known SARS-related
             beta-coronavirus, the class to which SARS2 belongs, possesses a furin cleavage
             site.

             Proponents of natural emergence say SARS2 could have picked up the site from
             some as yet unknown beta-coronavirus. But bat SARS-related beta-coronaviruses
             evidently don’t need a furin cleavage site to infect bat cells, so there’s no great
             likelihood that any in fact possesses one, and indeed none has been found so far.

             The proponents’ next argument is that SARS2 acquired its furin cleavage site from
             people. A predecessor of SARS2 could have been circulating in the human
             population for months or years until at some point it acquired a furin cleavage site
             from human cells. It would then have been ready to break out as a pandemic.

             If this is what happened, there should be traces in hospital surveillance records of
             the people infected by the slowly evolving virus. But none has so far come to light.
             According to the WHO report on the origins of the virus, the sentinel hospitals in
             Hubei province, home of Wuhan, routinely monitor in­uenza-like illnesses and “no
             evidence to suggest substantial SARSCoV-2 transmission in the months preceding
             the outbreak in December was observed.”

             So it’s hard to explain how the SARS2 virus picked up its furin cleavage site
             naturally, whether by mutation or recombination.


https://thebulletin.org/2021/05/the-origin-of-covid-did-people-or-nature-open-pandoras-box-at-wuhan/                                 19/69
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             That leaves a gain-of-function experiment. For those who think SARS2 may have
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             escaped    from a lab, explaining the furin cleavage site is no problem at all. “Since
             1992 the virology community has known that the one sure way to make a virus
             deadlier is to give it a furin cleavage site at the S1/S2 junction in the laboratory,”
             writes Steven Quay, a biotech entrepreneur interested in the origins of SARS2. “At
             least 11 gain-of-function experiments, adding a furin site to make a virus more
             infective, are published in the open literature, including [by] Dr. Zhengli Shi, head of
             coronavirus research at the Wuhan Institute of Virology.”

             4) A question of codons. There’s another aspect of the furin cleavage site that
             narrows the path for a natural emergence origin even further.

             As everyone knows (or may at least recall from high school), the genetic code uses
             three units of DNA to specify each amino acid unit of a protein chain. When read in
             groups of 3, the 4 different kinds of DNA unit can specify 4 x 4 x 4 or 64 different
             triplets, or codons as they are called. Since there are only 20 kinds of amino acid,
             there are more than enough codons to go around, allowing some amino acids to be
             speci¬ed by more than one codon. The amino acid arginine, for instance, can be
             designated by any of the six codons CGU, CGC, CGA, CGG, AGA or AGG, where A, U,
             G and C stand for the four different kinds of unit in RNA.

             Here’s where it gets interesting. Different organisms have different codon
             preferences. Human cells like to designate arginine with the codons CGT, CGC or
             CGG. But CGG is coronavirus’s least popular codon for arginine. Keep that in mind
             when looking at how the amino acids in the furin cleavage site are encoded in the
             SARS2 genome.

             Now the functional reason why SARS2 has a furin cleavage site, and its cousin
             viruses don’t, can be seen by lining up (in a computer) the string of nearly 30,000
             nucleotides in its genome with those of its cousin coronaviruses, of which the
             closest so far known is one called RaTG13. Compared with RaTG13, SARS2 has a
             12-nucleotide insert right at the S1/S2 junction. The insert is the sequence T-CCT-
             CGG-CGG-GC. The CCT codes for proline, the two CGG’s for two arginines, and the
             GC is the beginning of a GCA codon that codes for alanine.

             There are several curious features about this insert but the oddest is that of the
             two side-by-side CGG codons. Only 5 percent of SARS2’s arginine codons are CGG,
             and the double codon CGG-CGG has not been found in any other beta-coronavirus.
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             So how did SARS2 acquire a pair of arginine codons that are favored by human
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             cells but not by coronaviruses?

             Proponents of natural emergence have an up-hill task to explain all the features of
             SARS2’s furin cleavage site. They have to postulate a recombination event at a site
             on the virus’s genome where recombinations are rare, and the insertion of a 12-
             nucleotide sequence with a double arginine codon unknown in the beta-
             coronavirus repertoire, at the only site in the genome that would signi¬cantly
             expand the virus’s infectivity.

             “Yes, but your wording makes this sound unlikely — viruses are specialists at
             unusual events,” is the riposte of David L. Robertson, a virologist at the University
             of Glasgow who regards lab escape as a conspiracy theory. “Recombination is
             naturally very, very frequent in these viruses, there are recombination breakpoints
             in the spike protein and these codons appear unusual exactly because we’ve not
             sampled enough.”

             Robertson is correct that evolution is always producing results that may seem
             unlikely but in fact are not. Viruses can generate untold numbers of variants but we
             see only the one-in-a-billion that natural selection picks for survival. But this
             argument could be pushed too far. For instance, any result of a gain-of-function
             experiment could be explained as one that evolution would have arrived at in time.
             And the numbers game can be played the other way. For the furin cleavage site to
             arise naturally in SARS2, a chain of events has to happen, each of which is quite
             unlikely for the reasons given above. A long chain with several improbable steps is
             unlikely to ever be completed.

             For the lab escape scenario, the double CGG codon is no surprise. The human-
             preferred codon is routinely used in labs. So anyone who wanted to insert a furin
             cleavage site into the virus’s genome would synthesize the PRRA-making sequence
             in the lab and would be likely to use CGG codons to do so.

             “When I ¬rst saw the furin cleavage site in the viral sequence, with its arginine
             codons, I said to my wife it was the smoking gun for the origin of the virus,” said
             David Baltimore, an eminent virologist and former president of CalTech. “These
             features make a powerful challenge to the idea of a natural origin for SARS2,” he
             said. [1]


https://thebulletin.org/2021/05/the-origin-of-covid-did-people-or-nature-open-pandoras-box-at-wuhan/                                 21/69
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     A third scenario of origin. There’s a variation on the natural emergence scenario that’s worth
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     considering. This is the idea that SARS2 jumped directly from bats to humans, without going
     through an intermediate host as SARS1 and MERS did. A leading advocate is the virologist David
     Robertson who notes that SARS2 can attack several other species besides humans. He believes
     the virus evolved a generalist capability while still in bats. Because the bats it infects are widely
     distributed in southern and central China, the virus had ample opportunity to jump to people, even
     though it seems to have done so on only one known occasion. Robertson’s thesis explains why no
     one has so far found a trace of SARS2 in any intermediate host or in human populations surveilled
     before December 2019. It would also explain the puzzling fact that SARS2 has not changed since it
     ¬rst appeared in humans — it didn’t need to because it could already attack human cells e®ciently.
     One problem with this idea, though, is that if SARS2 jumped from bats to people in a
     single leap and hasn’t changed much since, it should still be good at infecting bats. And
     it seems it isn’t.



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     “Tested bat species are poorly infected by SARS-CoV-2 and they are therefore unlikely to
     be the direct source for human infection,” write a scienti¬c group skeptical of natural
     emergence.

     Still, Robertson may be onto something. The bat coronaviruses of the Yunnan caves can
     infect people directly. In April 2012 six miners clearing bat guano from the Mojiang mine
     contracted severe pneumonia with COVID-19-like symptoms and three eventually died.
     A virus isolated from the Mojiang mine, called RaTG13, is still the closest known relative
     of SARS2. Much mystery surrounds the origin, reporting and strangely low a®nity of
     RaTG13 for bat cells, as well as the nature of 8 similar viruses that Shi reports she
     collected at the same time but has not yet published despite their great relevance to the
     ancestry of SARS2. But all that is a story for another time. The point here is that bat
     viruses can infect people directly, though only in special conditions.

     So who else, besides miners excavating bat guano, comes into particularly close
     contact with bat coronaviruses? Well, coronavirus researchers do. Shi says she and her
     group collected more than 1,300 bat samples during some eight visits to the Mojiang



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     cave between 2012 and 2015, and there were doubtless many expeditions to other
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     Yunnan  caves.

     Imagine the researchers making frequent trips from Wuhan to Yunnan and back, stirring
     up bat guano in dark caves and mines, and now you begin to see a possible missing link
     between the two places. Researchers could have gotten infected during their collecting
     trips, or while working with the new viruses at the Wuhan Institute of Virology. The virus
     that escaped from the lab would have been a natural virus, not one cooked up by gain of
     function.

     The direct-from-bats thesis is a chimera between the natural emergence and lab escape
     scenarios. It’s a possibility that can’t be dismissed. But against it are the facts that 1)
     both SARS2 and RaTG13 seem to have only feeble a®nity for bat cells, so one can’t be
     fully con¬dent that either ever saw the inside of a bat; and 2) the theory is no better than
     the natural emergence scenario at explaining how SARS2 gained its furin cleavage site,
     or why the furin cleavage site is determined by human-preferred arginine codons
     instead of by the bat-preferred codons.

     Where we are so far. Neither the natural emergence nor the lab escape hypothesis can
     yet be ruled out. There is still no direct evidence for either. So no de¬nitive conclusion
     can be reached.

     That said, the available evidence leans more strongly in one direction than the other.
     Readers will form their own opinion. But it seems to me that proponents of lab escape
     can explain all the available facts about SARS2 considerably more easily than can those
     who favor natural emergence.

     It’s documented that researchers at the Wuhan Institute of Virology were doing gain-of-
     function experiments designed to make coronaviruses infect human cells and
     humanized mice. This is exactly the kind of experiment from which a SARS2-like virus
     could have emerged. The researchers were not vaccinated against the viruses under
     study, and they were working in the minimal safety conditions of a BSL2 laboratory. So
     escape of a virus would not be at all surprising. In all of China, the pandemic broke out
     on the doorstep of the Wuhan institute. The virus was already well adapted to humans,
     as expected for a virus grown in humanized mice. It possessed an unusual
     enhancement, a furin cleavage site, which is not possessed by any other known SARS-
     related beta-coronavirus, and this site included a double arginine codon also unknown


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     among beta-coronaviruses. What more evidence could you want, aside from the
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     presently unobtainable lab records documenting SARS2’s creation?

     Proponents of natural emergence have a rather harder story to tell. The plausibility of
     their case rests on a single surmise, the expected parallel between the emergence of
     SARS2 and that of SARS1 and MERS. But none of the evidence expected in support of
     such a parallel history has yet emerged. No one has found the bat population that was
     the source of SARS2, if indeed it ever infected bats. No intermediate host has presented
     itself, despite an intensive search by Chinese authorities that included the testing of
     80,000 animals. There is no evidence of the virus making multiple independent jumps
     from its intermediate host to people, as both the SARS1 and MERS viruses did. There is
     no evidence from hospital surveillance records of the epidemic gathering strength in the
     population as the virus evolved. There is no explanation of why a natural epidemic
     should break out in Wuhan and nowhere else. There is no good explanation of how the
     virus acquired its furin cleavage site, which no other SARS-related beta-coronavirus
     possesses, nor why the site is composed of human-preferred codons. The natural
     emergence theory battles a bristling array of implausibilities.

     The records of the Wuhan Institute of Virology certainly hold much relevant information.
     But Chinese authorities seem unlikely to release them given the substantial chance that
     they incriminate the regime in the creation of the pandemic. Absent the efforts of some
     courageous Chinese whistle-blower, we may already have at hand just about all of the
     relevant information we are likely to get for a while.

     So it’s worth trying to assess responsibility for the pandemic, at least in a provisional
     way, because the paramount goal remains to prevent another one. Even those who
     aren’t persuaded that lab escape is the more likely origin of the SARS2 virus may see
     reason for concern about the present state of regulation governing gain-of-function
     research. There are two obvious levels of responsibility: the ¬rst, for allowing virologists
     to perform gain-of-function experiments, offering minimal gain and vast risk; the
     second, if indeed SARS2 was generated in a lab, for allowing the virus to escape and
     unleash a world-wide pandemic. Here are the players who seem most likely to deserve
     blame.

         1. Chinese virologists. First and foremost, Chinese virologists are to blame for
            performing gain-of-function experiments in mostly BSL2-level safety conditions
            which were far too lax to contain a virus of unexpected infectiousness like SARS2.

https://thebulletin.org/2021/05/the-origin-of-covid-did-people-or-nature-open-pandoras-box-at-wuhan/                                 24/69
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                                                                                                                 Atomic Scientists
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             If the virus did indeed escape from their lab, they deserve the world’s censure for a
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             foreseeable    accident that has already caused the deaths of threeÊ million people.
             True, Shi was trained by French virologists, worked closely with American
             virologists and was following international rules for the containment of
             coronaviruses. But she could and should have made her own assessment of the
             risks she was running. She and her colleagues bear the responsibility for their
             actions.

             I have been using the Wuhan Institute of Virology as a shorthand for all virological
             activities in Wuhan. It’s possible that SARS2 was generated in some other Wuhan
             lab, perhaps in an attempt to make a vaccine that worked against all
             coronaviruses. But until the role of other Chinese virologists is clari¬ed, Shi is the
             public face of Chinese work on coronaviruses, and provisionally she and her
             colleagues will stand ¬rst in line for opprobrium.

             2. Chinese authorities. China’s central authorities did not generate SARS2, but they
             sure did their utmost to conceal the nature of the tragedy and China’s responsibility
             for it. They suppressed all records at the Wuhan Institute of Virology and closed
             down its virus databases. They released a trickle of information, much of which
             may have been outright false or designed to misdirect and mislead. They did their
             best to manipulate the WHO’s inquiry into the virus’s origins, and led the
             commission’s members on a fruitless run-around. So far they have proved far more
             interested in de­ecting blame than in taking the steps necessary to prevent a
             second pandemic.

             3. The worldwide community of virologists. Virologists around the world are a
             loose-knit professional community. They write articles in the same journals. They
             attend the same conferences. They have common interests in seeking funds from
             governments and in not being overburdened with safety regulations.

             Virologists knew better than anyone the dangers of gain-of-function research. But
             the power to create new viruses, and the research funding obtainable by doing so,
             was too tempting. They pushed ahead with gain-of-function experiments. They
             lobbied against the moratorium imposed on Federal funding for gain-of-function
             research in 2014, and it was raised in 2017.

             The bene¬ts of the research in preventing future epidemics have so far been nil,
             the risks vast. If research on the SARS1 and MERS viruses could only be done at
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             the BSL3 safety level, it was surely illogical to allow any work with novel
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             coronaviruses      at the lesser level of BSL2. Whether or not SARS2 escaped from a
             lab, virologists around the world have been playing with ¬re.

             Their behavior has long alarmed other biologists. In 2014 scientists calling
             themselves the Cambridge Working Group urged caution on creating new viruses.
             In prescient words, they speci¬ed the risk of creating a SARS2-like virus. “Accident
             risks with newly created ‘potential pandemic pathogens’ raise grave new
             concerns,” they wrote. “Laboratory creation of highly transmissible, novel strains of
             dangerous viruses, especially but not limited to in­uenza, poses substantially
             increased risks. An accidental infection in such a setting could trigger outbreaks
             that would be di®cult or impossible to control.”

             When molecular biologists discovered a technique for moving genes from one
             organism to another, they held a public conference at Asilomar in 1975 to discuss
             the possible risks. Despite much internal opposition, they drew up a list of
             stringent safety measures that could be relaxed in future — and duly were — when
             the possible hazards had been better assessed.

             When the CRISPR technique for editing genes was invented, biologists convened a
             joint report by the US, UK and Chinese national academies of science to urge
             restraint on making heritable changes to the human genome. Biologists who
             invented gene drives have also been open about the dangers of their work and
             have sought to involve the public.

             You might think the SARS2 pandemic would spur virologists to re-evaluate the
             bene¬ts of gain-of-function research, even to engage the public in their
             deliberations. But no. Many virologists deride lab escape as a conspiracy theory,
             and others say nothing. They have barricaded themselves behind a Chinese wall of
             silence which so far is working well to allay, or at least postpone, journalists’
             curiosity and the public’s wrath. Professions that cannot regulate themselves
             deserve to get regulated by others, and this would seem to be the future that
             virologists are choosing for themselves.

             4. The US role in funding the Wuhan Institute of Virology.[2] From June 2014 to
             May 2019, Daszak’s EcoHealth Alliance had a grantÊfrom the National Institute of
             Allergy and Infectious Diseases (NIAID), part of the National Institutes of Health, to
             do gain-of-function research with coronaviruses at the Wuhan Institute of Virology.
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                                                                                                                 Atomic Scientists
                                                                         #: 3902
             Whether or not SARS2 is the product of that research, it seems a questionable
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             policy  to farm out high-risk research to foreign labs using minimal safety
             precautions. And if the SARS2 virus did indeed escape from the Wuhan institute,
             then the NIH will ¬nd itself in the terrible position of having funded a disastrous
             experiment that led to the death of more than 3 million worldwide, including more
             than half a million of its own citizens.

             The responsibility of the NIAID and NIH is even more acute because for the ¬rst
             three years of the grant to EcoHealth Alliance there was a moratorium on funding
             gain-of-function research.Ê When the moratorium expired in 2017, it didn’t just
             vanish but was replaced by a reporting system, the Potential Pandemic Pathogens
             Control and Oversight (P3CO) Framework, which required agencies to report for
             review any dangerous gain-of-function work they wished to fund.

             The moratorium, referred to o®cially as a “pause,” speci¬cally barred funding any
             gain-of-function research that increased the pathogenicity of the ­u, MERS or
             SARS viruses.Ê It de¬ned gain-of-function very simply and broadly as “research that
             improves the ability of a pathogen to cause disease.”

             But then aÊfootnote on p.2 of the moratorium document states that “[a]n exception
             from the research pause may be obtained if the head of the USG funding agency
             determines that the research is urgently necessary to protect the public health or
             national security.”

             This seemed to mean that either the director of the NIAID, Anthony Fauci, or the
             director of the NIH, Francis Collins, or maybe both, would have invoked the
             exemption Êin order to keep the money ­owing to Shi’s gain-of-function research,
             and later to avoid notifying the federal reporting system of her research.

             “Unfortunately, the NIAID Director and the NIH Director exploited this loophole to
             issue exemptions to projects subject to the Pause –preposterously asserting the
             exempted research was ‘urgently necessary to protect public health or national
             security’—thereby nullifying the Pause,” Dr. Richard Ebright said in an interviewÊwith
             Independent Science News.

             But it’s not so clear that the NIH thought it necessary to invoke any loopholes.
             Fauci told a Senate hearing on May 11 that “the NIH and NIAID categorically has


https://thebulletin.org/2021/05/the-origin-of-covid-did-people-or-nature-open-pandoras-box-at-wuhan/                                 27/69
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             not funded gain-of-function research to be conducted in the Wuhan Institute of
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             Virology.”

             This was a surprising statement in view of all the evidence about Shi’s experiments
             with enhancing coronaviruses and the language of the moratorium statute de¬ning
             gain-of-function as “any research that improves the ability of a pathogen to cause
             disease.”

             The explanation may be one of de¬nition. Daszak’s EcoHealth Alliance, for one,
             believes that the term gain-of-function applies only to enhancements of viruses
             that infect humans, not to animal viruses. “So gain-of-function research refers
             speci¬cally to the manipulation of human viruses so as to be either more easily
             transmissible or to cause worse infection or be easier to spread,” an Alliance
             o®cial told The Dispatch Fact Check.

             If the NIH shares the EcoHealth Alliance view that “gain of function” applies only to
             human viruses, that would explain why Fauci could assure the Senate it had never
             funded such research at the Wuhan Institute of Virology. But the legal basis of
             such a de¬nition is unclear, and it differs from that of the moratorium language
             which was presumably applicable.

             De¬nitions aside, the bottom line is that the National Institutes of Health was
             supporting research of a kind that could have generated the SARS2 virus, in an
             unsupervised foreign lab that was doing work in BSL2 biosafety conditions.

     In conclusion. If the case that SARS2 originated in a lab is so substantial, why isn’t this
     more widely known? As may now be obvious, there are many people who have reason
     not to talk about it. The list is led, of course, by the Chinese authorities. But virologists in
     the United States and Europe have no great interest in igniting a public debate about the
     gain-of-function experiments that their community has been pursuing for years.

     Nor have other scientists stepped forward to raise the issue. Government research
     funds are distributed on the advice of committees of scienti¬c experts drawn from
     universities. Anyone who rocks the boat by raising awkward political issues runs the risk
     that their grant will not be renewed and their research career will be ended. Maybe good
     behavior is rewarded with the many perks that slosh around the distribution system.
     And if you thought that Andersen and Daszak might have blotted their reputation for
     scienti¬c objectivity after their partisan attacks on the lab escape scenario, look at the

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     second and third names on this list of recipients of an $82 million grant announced by
           The authoritative guide to ensuring science and technology make life on Earth better, not worse.
     the National Institute of Allergy and Infectious Diseases in August 2020.

     The US government shares a strange common interest with the Chinese authorities:
     Neither is keen on drawing attention to the fact that Shi’s coronavirus work was funded
     by the US National Institutes of Health. One can imagine the behind-the-scenes
     conversation in which the Chinese government says, “If this research was so dangerous,
     why did you fund it, and on our territory too?” To which the US side might reply, “Looks
     like it was you who let it escape. But do we really need to have this discussion in
     public?”

     Fauci is a longtime public servant who served with integrity under President Trump and
     has resumed leadership in the Biden Administration in handling the COVID-19 epidemic.
     Congress, no doubt understandably, may have little appetite for hauling him over the
     coals for the apparent lapse of judgment in funding gain-of-function research in Wuhan.

     To these serried walls of silence must be added that of the mainstream media. To my
     knowledge, no major newspaper or television network has yet provided readers with an
     in-depth news story of the lab escape scenario, such as the one you have just read,
     although some have run brief editorials or opinion pieces. One might think that any
     plausible origin of a virus that has killed three million people would merit a serious
     investigation. Or that the wisdom of continuing gain-of-function research, regardless of
     the virus’s origin, would be worth some probing. Or that the funding of gain-of-function
     research by the NIH and NIAID during a moratorium on such funding would bear
     investigation. What accounts for the media’s apparent lack of curiosity?

     The virologists’ omertà is one reason. Science reporters, unlike political reporters, have
     little innate skepticism of their sources’ motives; most see their role largely as purveying
     the wisdom of scientists to the unwashed masses. So when their sources won’t help,
     these journalists are at a loss.

     Another reason, perhaps, is the migration of much of the media toward the left of the
     political spectrum. Because President Trump said the virus had escaped from a Wuhan
     lab, editors gave the idea little credence. They joined the virologists in regarding lab
     escape as a dismissible conspiracy theory. During the Trump administration, they had
     no trouble in rejecting the position of the intelligence services that lab escape could not
     be ruled out. But when Avril Haines, President Biden’s director of national intelligence,
     said the same thing, she too was largely ignored. This is not to argue that editors should
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     have endorsed the lab escape scenario, merely that they should have explored the
           The authoritative guide to ensuring science and technology make life on Earth better, not worse.
     possibility fully and fairly.

     People round the world who have been pretty much con¬ned to their homes for the last
     year might like a better answer than their media are giving them. Perhaps one will
     emerge in time. After all, the more months pass without the natural emergence theory
     gaining a shred of supporting evidence, the less plausible it may seem. Perhaps the
     international community of virologists will come to be seen as a false and self-
     interested guide. The common sense perception that a pandemic breaking out in
     Wuhan might have something to do with a Wuhan lab cooking up novel viruses of
     maximal danger in unsafe conditions could eventually displace the ideological
     insistence that whatever Trump said can’t be true.

     And then let the reckoning begin.

     Notes

     [1] This quotation was added to the article after initial publication. Baltimore explained
     his thinking in regard to this quote in detail in a subsequent interview, published here.

     [2] Section revised May 18, 2021

     Acknowledgements

     The ¬rst person to take a serious look at the origins of the SARS2 virus was Yuri Deigin,
     a biotech entrepreneur in Russia and Canada. In a long and brilliant essay, he dissected
     the molecular biology of the SARS2 virus and raised, without endorsing, the possibility
     that it had been manipulated. The essay, published on April 22, 2020, provided a
     roadmap for anyone seeking to understand the virus’s origins. Deigin packed so much
     information and analysis into his essay that some have doubted it could be the work of
     a single individual and suggested some intelligence agency must have authored it. But
     the essay is written with greater lightness and humor than I suspect are ever found in
     CIA or KGB reports, and I see no reason to doubt that Deigin is its very capable sole
     author.

     In Deigin’s wake have followed several other skeptics of the virologists’ orthodoxy.
     Nikolai Petrovsky calculated how tightly the SARS2 virus binds to the ACE2 receptors of
     various species and found to his surprise that it seemed optimized for the human
     receptor, leading him to infer the virus might have been generated in a laboratory. Alina

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     Chan published a paper showing that SARS2 from its ¬rst appearance was very well
           The authoritative guide to ensuring science and technology make life on Earth better, not worse.
     adapted to human cells.

     One of the very few establishment scientists to have questioned the virologists’
     absolute rejection of lab escape is Richard Ebright, who has long warned against the
     dangers of gain-of-function research. Another is David A. Relman of Stanford University.
     “Even though strong opinions abound, none of these scenarios can be con¬dently ruled
     in or ruled out with currently available facts,” he wrote. Kudos too to Robert Red¬eld,
     former director of the Centers for Disease Control and Prevention, who told CNN on
     March 26, 2021 that the “most likely” cause of the epidemic was “from a laboratory,”
     because he doubted that a bat virus could become an extreme human pathogen
     overnight, without taking time to evolve, as seemed to be the case with SARS2.

     Steven Quay, a physician-researcher, has applied statistical and bioinformatic tools to
     ingenious explorations of the virus’s origin, showing for instance how the hospitals
     receiving the early patients are clustered along the Wuhan \2 subway line which
     connects the Institute of Virology at one end with the international airport at the other,
     the perfect conveyor belt for distributing the virus from lab to globe.

     In June 2020 Milton Leitenberg published an early survey of the evidence favoring lab
     escape from gain-of-function research at the Wuhan Institute of Virology.

     Many others have contributed signi¬cant pieces of the puzzle. “Truth is the daughter,”
     said Francis Bacon, “not of authority but time.” The efforts of people such as those
     named above are what makes it so.




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 The World Needs Masks. China Makes Them,
 but Has Been Hoarding Them.
 As China grappled with the coronavirus, it kept the masks it made. Now that
 other nations need them, pressure is rising on Beijing to resume exports.



 By Keith Bradsher and Liz Alderman
 Published March 13, 2020      Updated April 2, 2020




                  Want to stay updated on what’s happening in China? Sign up for Your
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 SHANGHAI — As hospitals and governments hunt desperately for respirators and
 surgical masks to protect doctors and nurses from the coronavirus pandemic, they
 face a difficult reality: The world depends on China to make them, and the country
 is only beginning to share.

 China made half the world’s masks before the coronavirus emerged there, and it
 has expanded production nearly 12-fold since then. But it has claimed mask factory
 output for itself. Purchases and donations also brought China a big chunk of the
 world’s supply from elsewhere.

 Now, worries about mask supplies are rising. As the virus’s global spread
 escalates, governments around the world are restricting exports of protective gear,
 which experts say could worsen the pandemic.




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 That has put growing pressure on China to meet the world’s needs, even as it
 continues to grapple with the coronavirus itself. Although government data
 suggests China has brought infection rates under control, epidemiologists warn
 that its outbreak could flare again as officials loosen travel limits and more people
 return to work.

 Peter Navarro, an adviser to President Trump on manufacturing and trade,
 contended on Fox Business last month that China had essentially taken over
 factories that make masks on behalf of American companies. Beijing, he said, had
 opted to “nationalize effectively 3M, our company.”

 In a statement, Minnesota-based 3M said most of the masks it made at its factory
 in Shanghai had been sold within China even before the outbreak. It declined to
 comment on when exports from China might resume.




              A factory last month in Nanjing, China, where production of face masks ramped up.
              Agence France-Presse — Getty Images




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 China may be easing its grip as the world’s needs grow. Tan Qunhong, the general
 manager of a small manufacturer of disposable masks in central China, said that
 she had filled the government’s purchase orders and was starting to resume
 exports. The Chinese government is also shipping masks abroad as part of
 goodwill packages.

 Other manufacturers say the Chinese government is still claiming all the masks
 that their factories in the country make. “Mask exports are still not authorized, but
 we are following the situation every day,” said Guillaume Laverdure, chief
 operating officer of Medicom, a Canadian manufacturer that makes three million
 masks a day at its Shanghai factory.

 Much as it dominates manufacturing of cars, steel, electronics and other
 necessities, China is essential to the world’s supply of protective medical gear.
 Most of what it makes are the disposable surgical masks worn by health
 professionals. It makes a smaller number of N95 respirator masks, which provide
 more filtration for doctors and nurses.

 The general public does not need to wear masks, according to the U.S. Centers for
 Disease Control and Prevention. But demand for surgical masks has skyrocketed
 in China, where the police require anyone who goes out in public to wear a mask.

 Though companies say China is claiming virtually all mask output, the Chinese
 government said it had never issued a regulation prohibiting mask exports and
 was willing to work with other countries to share.




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              A 3M laboratory was contracted by the U.S. government to produce extra N95
              respiration masks like these.x Nicholas Pfosi/Reuters



 “We fully understand the stress and problems that relevant countries are facing at
 this moment regarding the epidemic, and we are willing to strengthen
 international cooperation,” said Li Xingqian, the vice director of international trade
 at China’s Commerce Ministry, in a written reply to questions.

 China did not just stop selling masks — it also bought up much of the rest of the
 world’s supply. According to official data, China imported 56 million respirators and
 masks in the first week after the January lockdown of the city of Wuhan, where the
 coronavirus emerged.

 On Jan. 30, the last day for which data is available, China managed to import 20
 million respirators and surgical masks in just 24 hours. Through February, civic-
 minded entrepreneurs and aid groups visited pharmacies in affluent countries and
 emerging markets alike, buying masks in bulk to send to China.




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 Global companies and charities donated, too. Honeywell provided 500,000 N95
 respirator masks, and 3M donated a million of them. Honeywell said its
 contribution came from stockpiles in China, while 3M declined to identify the
 source of its donations.

 3M also donated a second shipment of respirators, but declined to say how many
 that included. The charitable foundation of Bristol Myers Squibb funded an
 additional 220,000 N95 respirators for doctors and nurses at the center of the
 outbreak.

 Since then, China has undertaken a mobilization of wartime proportions to expand
 its output of disposable surgical masks. Daily production soared from about 10
 million at the start of February to 115 million at the end of the month, according to
 the Chinese government.




              A “mask factory” in Tuen Mun in Hong Kong. Lam Yik Fei for The New York Times




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 Yuan Fajun, the secretary general of the medical materials committee at the China
 Medical Pharmaceutical Material Association, said manufacturers still needed to
 produce another 230 million surgical masks for the domestic market. But the
 recent surge in production means that those orders can be met and exports should
 be possible, he said.

 Hundreds of small companies have started making masks. A General Motors joint
 venture in southwestern China built 20 of its own mask-making machines and
 began bulk production.

 Yet production of N95 respirator masks has barely increased, to 1.66 million per
 day. They require a special fabric that is in short supply.

 China’s immediate needs may be easing. As new cases soar from Milan to Seattle,
 Wuhan is reporting fewer than a dozen new infections a day.

 The Chinese government has begun some shipments to other countries as part of
 aid packages. It donated 250,000 masks last month to Iran, one of the countries
 hardest hit by the epidemic, and 200,000 to the Philippines. This week it said it
 would send five million masks to South Korea and export 100,000 respirators and
 two million surgical masks to Italy.

 “In the previous stage of prevention and control, many countries have offered to
 help us, and we are willing to offer affected countries our share of help while we
 can,” said Mr. Li at the Ministry of Commerce in Beijing.

 Analysts in the West say China is also looking for political influence by having top
 diplomats announce the donations. “It is certainly making it a tool of foreign
 policy,” said Jacques deLisle, the director of the Center for the Study of
 Contemporary China at the University of Pennsylvania.




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                                Making masks at the Kolmi-Hopen factory, a medical
                                products wholesaler, in Angers, France. Elliott Verdier for The
                                New York Times




 China’s government is not the only one that has played a big role in mask
 allocation. Taiwan, South Korea and India have all taken steps to stop mask
 exports.

 Citing shortages that endanger doctors and nurses, the French government last
 week requisitioned all mask production through the end of May. It is also pressing
 French medical supply factories to produce N95 masks and surgical masks around
 the clock for domestic use only.

 Valmy SAS, a midsize medical supplies maker near Lyon, France, was unable to
 fulfill an order for a million masks by the British National Health Service because
 the French government requisitioned supplies. “They tell me what to make and I
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 make it,” said Nicolas Brillat, the company’s director.

 Germany and the Czech Republic last week banned the export of face masks and
 other protective equipment. In Italy, where the government has placed nearly all of
 the population on lockdown since Monday, masks and other protective medical
 supplies may not leave the country without authorization.

 The governments did not give production numbers or say how many masks they
 needed to cover at-risk populations. But officials in Belgium, the Netherlands,
 Austria and other European Union countries warned that the curbs were
 preventing suppliers from delivering to neighboring countries.

 The bans “risk undermining our collective approach to handle this crisis,” Janez
 Lenarcic, the E.U.’s crisis management commissioner, said on Friday at an
 emergency meeting of European health ministers in Brussels.

 Supplies from a five-story building in southwestern Shanghai could help alleviate
 the shortage. The huge factory is one of the most important sites manufacturing
 N95 respirators for 3M.

 Standing at the factory fence, which was topped with six strands of electrified wire,
 a worker who gave only his family name, Zhou, said the masks had been helping
 China fight the virus.

 “They’re being sent,” he said with pride, “to hospitals in Wuhan.”




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              The 3M factory in Shanghai. Henri Shi for The New York Times


 Keith Bradsher reported from Shanghai, and Liz Alderman from Paris. Abby Goodnough and Ana Swanson
 contributed reporting from Washington. Coral Yang contributed research from Shanghai, and Cao Li from
 Hong Kong.

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 A version of this article appears in print on , Section B, Page 5 of the New York edition with the headline: China Makes the Masks the
 World Needs. It Is Just Starting to Share.




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